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2    428 J Street, 3rd Floor
     Sacramento, California 95814
3    Telephone: (916) 447-0160
4
5    Attorney for Defendant
     JOSE ANGEL BUSTAMANTE
6
7                       IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,       )     No. 05-0384 WBS
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER VACATING
13        v.                         )     DATE, CONTINUING CASE, AND
                                     )     EXCLUDING TIME
14   JOSE ANGEL BUSTAMANTE, et al.   )
                    Defendant.       )
15                                   )     Date: June 11, 2007
     _______________________________ )     Time: 8:30 a.m.
16                                   )     Judge: Hon. Shubb
17
18        IT IS HEREBY STIPULATED by and between Assistant United States
19   Attorney MARY GRAD, Counsel for Plaintiff, and Attorney Dina L. Santos,
20   Counsel for Defendant JOSE ANGEL BUSTAMANTE, attorney VICTOR HALTOM,
21   counsel for SANTOS BUSTAMANTE, and attorney RUSSELL HUMPHREY, counsel
22   for SANTOS FELIX, that the status conference scheduled for June 4,
23   2007, be vacated and the matter be continued to this Court's criminal
24   calendar on June 11, 2007 at 8:30 a.m, for change of plea.
25        This continuance is requested by the defense for client
26   consultation regarding the proposed plea agreements.          All counsel are
27   very close to reaching a final disposition and anticipate a change of
28   plea at the next court date.     All counsel therefore seek additional
            Case 2:05-cr-00384-WBS Document 50 Filed 06/04/07 Page 2 of 3


1    necessary preparation time.
2
3          IT IS FURTHER STIPULATED that time for trial under the Speedy
4    Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
5    3161(h)(8)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
6    ends of justice served in granting the continuance and allowing the
7    defendant further time to prepare outweigh the best interests of the
8    public and the defendant in a speedy trial.
9          The Court is advised that all counsel have conferred about this
10   request, that they have agreed to the June 11, 2007, date, and that Ms.
11   Grad has authorized Ms. Santos to sign this stipulation on her         behalf.
12
13
14         IT IS SO STIPULATED.
15
16   Dated: May 31, 2007                      /S/ Dina L. Santos
                                             DINA L. SANTOS
17                                           Attorney for Defendant
                                             JOSE ANGEL BUSTAMANTE
18
     Dated: May 31, 2007                      /S/ Victor Haltom
19                                           VICTOR HALTOM
                                             Attorney for Defendant
20                                           SANTOS BUSTAMANTE
21   Dated: May 10, 2007                      /S/ Russell Humphrey
                                             RUSSELL HUMPHREY
22                                           Attorney for Defendant
                                             SANTOS FELIX
23
     Dated: May 31, 2007                /S/ Mary Grad
24                                          MARY GRAD
                                            Assistant United States Attorney
25                                          Attorney for Plaintiff
26
                                        O R D E R
27
           IT IS SO ORDERED.
28


     Stipulation and Order                   2
            Case 2:05-cr-00384-WBS Document 50 Filed 06/04/07 Page 3 of 3


1                      By the Court,
2
3    Dated: June 1, 2007
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     Stipulation and Order                   3
